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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
  v.                                             §          No. 4:19-CR-309
                                                 §          Judge Mazzant
  JAMES TRAVIS TANNER (2)                        §

                             ELEMENTS OF THE OFFENSE

        You are charged in Count One of the Indictment with a violation of 21 U.S.C. §

 846, Conspiracy to Possess with the Intent to Manufacture and Distribute a mixture or

 substance containing a detectable amount of methamphetamine. The essential elements

 which must be proved beyond a reasonable doubt in order to establish a violation of that

 section are:

        1.      That you and one or more persons, in some way or manner made an

 agreement to commit the crime charged in the Indictment, that is, to possess with intent

 to manufacture and distribute 500 grams or more of a mixture or substance containing a

 detectable amount of methamphetamine or 50 grams or more of methamphetamine

 (actual);

        2.      That you knew the unlawful purpose of the agreement;

        3.      That you joined in the agreement willfully, that is, with the intent to further

 its unlawful purpose;

        4.      That the overall scope of the conspiracy involved 500 grams or more of a

 mixture or substance containing a detectable amount of methamphetamine or 50 grams or

 more of methamphetamine (actual).

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        5.      That the defendant knew or reasonably should have known that the scope of

 the conspiracy involved 500 grams or more of a mixture or substance containing a

 detectable amount of methamphetamine or 50 grams or more of methamphetamine

 (actual).


                                                   Respectfully submitted,

                                                   Joseph D. Brown
                                                   United States Attorney
                                                   Eastern District of Texas

                                                   /s/ Matthew T. Johnson
                                                   Matthew T. Johnson
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                              CERTIFICATE OF SERVICE

        I certify that I filed a true and correct copy of this document through the district

 court=s Case Management/Electronic Case File (ACM/ECF@) system on April 14, 2020.

 All case participants should have received notice of the filing through the CM/ECF

 system.

                                                   /s/ Matthew T. Johnson
                                                   MATTHEW T. JOHNSON




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